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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


 UNITED STATES,
      Plaintiff,

        v.                                            No. 3:18-cr-335 (VAB)

 LUQMAN GOTTI,
     Defendant.


                 MEMORANDUM OF DECISION RE: THE SENTENCE

       In 2000, Luqman Gotti (“Defendant”), then known as Timothy Pennington, at the age of

eighteen, entered an Alford Plea to the sexual assault of a fourteen-year-old minor under Conn.

Gen. Stat. § 53a-71(a)(1).

       In 2017, Mr. Gotti knowingly contacted a minor through the Kik text message application

and engaged in a sexually explicitly conversation with the minor. After the minor confirmed his

age, Mr. Gotti both requested and sent graphic, sexual photographs.

       On December 20, 2018, Mr. Gotti pled guilty to Accessing with Intent to View Child

Pornography, 18 U.S.C. § 2252A(a)(5)(B).

       The Court must now decide whether Mr. Gotti’s previous state law conviction constitutes

a predicate offense under 18 U.S.C. § 2252A(b)(2), requiring the imposition of a mandatory

minimum term of imprisonment, and otherwise determine the appropriate sentence for him.

       For the reasons discussed below, the Court determines that Mr. Gotti’s previous state law

conviction is not a predicate offense under 18 U.S.C. § 2252A(b)(2), and therefore does not

require the imposition of a mandatory minimum term of imprisonment. The Court further

determines that, after considering and weighing all of the relevant factors under 18 U.S.C. §

3553(a), including but not limited to determining the appropriateness of a departure from or


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variance with the Sentence Guidelines, based on the parties’ mutual understanding at the time of

Mr. Gotti’s plea agreement, a deduction of four points from his Sentencing Guidelines

calculations to avoid an unwarranted sentencing disparity, a Non-Guidelines sentence with an

upward variance to a term of imprisonment of eighty (80) months for Mr. Gotti’s criminal

conduct is necessary to ensure that there are no unwarranted disparities in his sentence.1

    I.       BACKGROUND

         Arrested on April 25, 2018, Mr. Gotti appeared before a United States Magistrate Judge,

the Honorable Robert A. Richardson, later that day. Judge Richardson ordered Mr. Gotti

detained to ensure the safety of the community and because there was probable cause to believe

that he committed an offense involving a minor.

         On December 20, 2018, Mr. Gotti pled guilty to 18 U.S.C. § 225A(a)(5)(B), the elements

of which include: (1) knowingly accessing with an intent to view material that contained an

image of child pornography; (2) the child pornography had been transported through interstate

commerce by any means including a computer, and (3) the defendant knew the material

contained child pornography. Plea Agreement, ECF No. 28 (Dec. 20, 2018).

         In the parties’ plea agreement, there is an agreement that Mr. Gotti’s base offense level

under the United States Sentencing Guidelines (“U.S.S.G.”) § 2G2.2(a)(2) is 18. Id. at 5. The

parties also agree that, because Mr. Gotti did not intend to traffic in or distribute child

pornography, the base offense level is decreased by two levels under U.S.S.G. § 2G2.2(b)(1). Id.

The parties further agree that the base offense level is increased by four levels under U.S.S.G.




1
 This memorandum of decision only discusses in greater the reasoning behind the specific term of imprisonment
imposed in Mr. Gotti’s case. Other parts of his sentence, such as the terms of supervised release, were discussed at
Mr. Gotti’s sentencing hearing. ECF No. 85 (Sept. 18, 2020).

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§ 2G2.2(b)(4) because the offense involved material that portrays sadistic or masochistic

conduct, in that it depicts a young boy being anally penetrated by a foreign object. Id.

       The parties stipulated to a two-level increase of the base offense level because the offense

involved the use of a computer or an interactive computer service, the Kik smartphone

application, under U.S.S.G. § 2G2.2(b)(6). Id. They also stipulated to a two-level increase to the

base offense level under U.S.S.G. § 2G2.2(b)(7)(A), because the offense involved one image and

one video resulting in the equivalent of at least 10 images. Id. Under U.S.S.G. § 2G2.2, comment

n.6(b)(ii), each video shall be considered to have 75 images.

       As agreed by the parties, Mr. Gotti’s resulting adjusted offense level is 24. Id. Because

the parties also agreed to a three-level reduction of the adjusted offense level for acceptance of

responsibility under U.S.S.G. § 3E1.1(a) and (b), Mr. Gotti’s resulting total offense level is 21.

Id. The parties calculated that Mr. Gotti falls within Criminal History Category V. Id. A total

offense level of 21 with a Criminal History Category V results in a Sentencing Guideline range

of 70 to 87 months, and a fine range of $15,000 to $150,000.

       In the view of the United States Probation Office (“Probation”), however, a two -level

reduction under U.S.S.G. §2G2.2(b)(1) should not have been included in the parties’

calculations, because the base offense level is governed by U.S.S.G. §2G2.2(a)(1). Probation

thus calculates a total offense level of 23, rather than 21, and that total offense level with a

Criminal History Category V results in a Sentencing Guideline range of 84 to 105 months, and a

fine range of $20,000 to $200,000. Pre-Sentence Investigation Report, ECF No. 47 at 9–10 (Aug.

23, 2019).

       In any event, the Government argues that, because of Mr. Gotti’s prior conviction, he

faces a mandatory minimum term of imprisonment of 120 months. Government’s Sentencing



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Mem., ECF No. 53 at 1, 6–11 (Dec. 9, 2019). Mr. Gotti, in turn, argues that a mandatory

minimum sentence does not apply here.2 To the extent that the Court concludes that the ten-year

mandatory minimum is not applicable, both parties agree that a departure under the Second

Circuit’s decision in United States v. Fernandez, 877 F.2d 1138 (2d Cir. 1989) is appropriate. Id.

at 1145 (“[I]t is not startling that a district court presently may depart from a Guidelines sentence

in order to give effect to a plea bargain if such a departure is warranted.”).

          The Court held a sentencing hearing on December 13, 2019 and continued that hearing

until September 18, 2020, for a variety of reasons, including the challenges posed by an in-

person sentencing during the coronavirus pandemic.

    II.      STANDARD OF REVIEW

          18 U.S.C. § 2252A(a)(5) criminalizes the knowing possession with the intent to view

child pornography. Violation of § 2252A(a)(5) typically carries no mandatory minimum

sentence, unless the child pornography involves a prepubescent minor or a minor under the age

of 12. Certain prior convictions, however, can trigger a ten-year mandatory minimum sentence.

This includes a prior conviction “under the laws of any State relating to aggravated sexual abuse,

sexual abuse, or abusive sexual conduct involving a minor or ward .” 18 U.S.C. § 2252A(b)(2).

          Two approaches are available to the Court to determine “whether a state offense qualifies

as a predicate offense for a federal mandatory minimum sentence,” United States v. Barker, 723




2
 In addition to the arguments addressed below the regarding the application of the categorical approach in
determining whether a mandatory minimum sentence applies, Mr. Gotti also argues that, given the recent sentence
of another defendant convicted of related acts, the application of a ten-year mandatory minimum sentence here
would be unconstitutional. Def.’s Third Sentencing Mem., ECF No. 66 at 1 –2 (Feb. 20, 2020). Because the Court
determines that the ten-year mandatory minimum does not apply to Mr. Gotti’s sentence as a matter of statutory
construction, by applying relevant Supreme Court and Second Circuit precedent, the Court need not and does not
reach this constitutional issue. Lyng v. Northwest Indian Cemetery Protective Ass’n, 485 U.S. 439, 445 (1988) (“A
fundamental and longstanding principle of judicial restraint requires that courts avoid reaching constitutional
questions in advance of the necessity of deciding them.” (citation omitted)).

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F.3d 315, 319 (2d Cir. 2013) (citation omitted): a categorical approach or a modified categorical

approach.

        “Under a categorical approach, courts compare the statute forming the basis of the

defendant’s prior conviction with the applicable generic offense in the federal sentencing

statute.” Id. (citing United States v. Beardsley, 691 F.3d 252, 259 (2d Cir. 2012)). The generic

crime constitutes “the offense as commonly understood” and becomes a predicate conviction

“only if the statute’s elements are the same as, or narrower than, those of the generic offense.”

Descamps v. United States, 570 U.S. 254, 257 (2013). “The state conviction triggers removal

only if, by definition, the underlying crime falls within a category of removable offenses defined

by federal law.” Mellouli v. Lynch, 135 S. Ct. 1980, 1986 (2015).

        Courts “presume that the state conviction ‘rested upon … the least of th[e] acts’

criminalized by the statute, and then [courts] determine whether that conduct would fall within

the federal definition of the crime.” Esquivel-Quintana v. Sessions, 137 S. Ct. 1562, 1568 (2017)

(first alteration in original) (quoting Gonzalez v. Duenas-Alvarez, 549 U.S. 183, 186 (2007)). In

ascertaining the minimum criminal conduct of a state statute, “there must be a realistic

probability, not a theoretical possibility, that the State would apply its statute to conduct that falls

outside the generic definition of a crime.” Moncrieffe v. Holder, 569 U.S. 184, 191 (2013)

(internal quotation marks and citation omitted).

        The modified categorical approach allows courts to “consider facts underlying the prior

conviction[] to determine which alternative element in a divisible statute formed the basis of the

defendant’s conviction.” United States v. Moreno, 821 F.3d 223, 227 (2d Cir. 2016) (citations

and internal quotation marks omitted); see also Beardsley, 691 F.3d at 258 (“[T]he modified

categorical approach is appropriate only where a statute is divisible into qualifying and non -



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qualifying offenses, and not where the statute is merely worded so broadly to encompass conduct

that might fall within the definition of the federal predicate offense . . . .” (emphasis in original)).

           It requires a court to (1) “determine if the statute is divisible, such that some categories of

proscribed conduct render an [enhancement appropriate] and some do not” and (2) “consult the

record of conviction to ascertain the category of conduct of which the [defendant] was

convicted.” Beardsley, 691 F.3d at 258 (quoting Lanferman v. Bd. of Immigration Appeals, 576

F.3d 84, 88-89 (2d Cir. 2009)); see also Hoodho v. Holder, 558 F.3d 184, 189 (2d Cir. 2009)

(finding the modified categorical approach applies “if a violation of a criminal statute can arise

from ‘diverse classes of criminal acts[,] some of which would categorically be grounds for

removal and others which would not.’” (quoting James v. Mukasey, 522 F.3d 250, 254 (2d Cir.

2008))). How to determine a statute’s divisibility remains an open question “when [a statute]

encompasses both removable and non-removable offenses, but does not describe the removable

offenses only in distinct subsections or elements of a disjunctive list.” Beardsley, 691 F.3d at

264. In practice, the United States Court of Appeals for the Second Circuit (“Second Circuit”)

“has applied the modified categorical approach only to situations where the statute of prior

conviction described qualifying and non-qualifying offenses in distinct subsections or elements

of a list.” Id.

    III.        DISCUSSION

           A.     The Applicable Approach: Categorical or Modified Categorical

           The Court first must decide whether the categorical or modified categorical approach

applies to determining whether Mr. Gotti’s prior state conviction under Conn. Gen. Stat. § 53-

71(a)(1) qualifies as a predicate offense under 18 U.S.C. § 2252A(b)(2). See United States v.

Simard, 731 F.3d 156, 160 (2d Cir. 2013) (the appropriate sentence under § 2252A(b)(2)



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partially depends “on whether the defendant has previously been convicted of a [state] crime

‘relating to aggravated sexual abuse, sexual abuse, or abusive sexual conduct invo lving a minor

or ward.’” (quoting 18 U.S.C. § 2252A(b)(2)). Neither aggravated sexual abuse, nor abusive

sexual conduct involving a minor or ward are defined within the statute.

        For the reasons discussed below, the categorical approach applies.

        To determine if a past conviction counts as a predicate offense, “courts apply what is

known as the categorical approach: [t]hey focus solely on whether the elements of the crime of

conviction sufficiently match the elements of” the generic federal crime. Mathis v. United States,

136 S. Ct. 2243, 2248 (2016). It requires application of the laws in place at the time of

conviction. Doe v. Sessions, 886 F.3d 203 (2d Cir. 2018).

        “Under a categorical approach, courts compare the statute forming the basis of the

defendant’s prior conviction with the applicable generic offense in the federal sentencing

statute.” Barker, 723 F.3d at 319 (citing Beardsley, 691 F.3d at 259). If a state statute “does not

categorically fall within [the generic] definition,” it will not constitute a triggering conviction.

Esquivel-Quintana, 137 S. Ct. at 1568. 3

        Conn. Gen. Stat. § 53a-71(a)(1), at the time of conviction, provided:

                 A person is guilty of sexual assault in the second degree when such
                 person engages in sexual intercourse with another person and (1)
                 Such other person is thirteen years of age or older but under sixteen
                 years of age and the actor is more than two years older than such
                 persons . . . .




3
 For example, an en banc panel of the Eighth Circuit ruled that earlier juvenile adjudications do not constitute a
prior conviction under § 2252A(b). See United States v. Gauld, 865 F.3d 1030, 1035 (8th Cir. 2017) (“Because
federal law distinguishes between criminal convictions and juvenile-delinquency adjudications, and because
§2252[A](b)(1) mentions only convictions, juvenile-delinquency adjudications do not trigger that statute’s 15-year
mandatory minimum.”).


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        Conn. Gen. Stat. § 53a-71(a)(1) (1993), Conn. P.A. 93-340 (S.H. B. 6437) (“§ 53-

71(a)(1)” or the “Connecticut statute”).4 18 U.S.C. § 2252A(b)(1) provides:

                 Whoever violates . . . subsection (a)(5) shall be fined under this title
                 or imprisoned not more than 10 years, but if . . . such person has a
                 conviction under this chapter, chapter 71, chapter 109A, or chapter
                 117. . . or, under the laws of any State relating to aggravated sexual
                 abuse, sexual abuse, or abusive sexual conduct involving a minor or
                 ward . . . such person shall be fined under this title and imprisoned
                 for not less than 10 years nor more than 20 years.

18 U.S.C. §2252A(b)(1). There is no generic definition of “abusive sexual conduct involving a

minor,” however, “sexual abuse of a minor or ward” is defined in 18 U.S.C. § 2243. It

criminalizes persons who

                 [K]nowingly engage[ ] in a sexual act with another person who—
                 (1) has attained the age of 12 years but has not attained the age of
                 16 years; and
                 (2) is at least four years younger than the person so engaging g. . . .

18 U.S.C. § 2243(a).

        The modified categorical approach is used when a statute is divisible, not merely broad.

Beardsley, 691 F.3d at 258. The Connecticut statute here is not divisible. While successive

subsections describe alternative means of creating liability for sexual assault in the second

degree, those subsections have distinct elements which must be proven. There are no

alternatives, conjunctives, or phrases to suggest there are potential ways to incur liability under

the Connecticut statute. See Mathis, 136 S. Ct. at 2248 (“Elements are the constituent parts of a

crime’s legal definition—the things the prosecution must prove to sustain a conviction.” (internal

quotation marks omitted) (quoting Black’s Law Dictionary 634 (10th ed. 2014)).




4
 Since Mr. Gotti’s conviction of this state offense, Conn. Gen. Stat. § 53a-71(a)(1) has been amended and currently
requires the actor to be “more than three years older than such other person.” Conn. Gen. Stat. § 53a -71(a)(1)
(2013).

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       As a result, the Court will apply the categorical approach, not the modified categorical

approach. See Descamps, 570 U.S. at 256 (the categorical approach compares “the elements of

the statute forming the basis of the defendant’s conviction with the elements of the ‘generic’

crime’”).

       B.      The Application of the Categorical Approach

       In applying the categorical approach, the Court presumes “that the state conviction

‘rested upon…the least of th[e] acts’ criminalized by the statute,” Esquivel-Quintana, 137 S. Ct.

at 1568 (alteration in original) (quoting Johnson, 559 U.S. at 137). Conn. Gen. Stat. § 53a-

71(a)(1) criminalizes the engaging in of “sexual intercourse with another person ” and the “other

person is thirteen years of age or older but under sixteen years of age and the actor is more than

two years older than such persons.” The meaning of the phrase “sexual intercourse,” defined in

an earlier section of Connecticut law, as follows:

               Sexual intercourse’ means vaginal intercourse, anal intercourse,
               fellatio or cunnilingus between persons regardless of sex. Its
               meaning is limited to persons not married to each other. Penetration,
               however slight, is sufficient to complete vaginal intercourse, anal
               intercourse or fellatio and does not require emission of semen.
               Penetration may be committed by an object manipulated by the actor
               into the genital or anal opening of the victim’s body.

Conn. Gen. Stat. § 53a-65(2) (1993), Conn. P.A. 94-221 (S.S.B. 292).

       The Government argues that Mr. Gotti’s “prior felony conviction for second-degree

sexual assault of a minor” triggers “a mandatory minimum term of imprisonment of 10 years and

a term of supervised release of five years to life.” Gov’t Sentencing Mem., ECF No. 53 at 1

(Dec. 9, 2019). In the Government’s view, “applying the categorical approach to 18 U.S.C. §

2252A(b)(2)” requires determining “whether a defendant was previously convicted of a state




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offense ‘relating to aggravated sexual abuse, sexual abuse, or abusive sexual conduct involving a

minor or ward.’” Id. at 7 (emphasis in original).

        In its view, the phrase “‘relating to’ has been ‘broadly interpreted to apply not simply to

state offenses that are equivalent to sexual abuse, but rather to any state offense that stands in

some relation to, bears upon, or is associated with the generic offense.’” Id. (quoting Barker, 723

F.3d at 322-23). The Government further argues that Second Circuit precedent instructs that

reference to the federal code is not needed to analyze whether a prior conviction should qualify

as a triggering offense. Id. at 8 (citing United States v. Allen, 750 F.3d 209, 212-13 (2d Cir.

2014)). As a result, to the Government, similar to the state law at issue in Barker, “§ 53a-71

criminalizes sexual intercourse with a minor who cannot consent because of his/her age[,]”

which then categorically qualifies as an offense “relating to . . . abusive sexual conduct involving

a minor.” Id. at 10-11 (alteration in original) (quoting 18 U.S.C. § 2252A(b)(2)).

        Mr. Gotti argues that Barker is not controlling and emphasizes that the possible

conviction of a fifteen-year-old under the statute is important to an analysis under the categorical

approach. Def.’s Reply, ECF No. 54 (Dec. 11, 2019). 5 Mr. Gotti, along with the Federal Public

Defender’s Office (“FDO”), which filed an amicus curiae brief, ECF No. 42 (June 28, 2019)

(“Amicus Br.”), argues that the least of the acts criminalized under Connecticut’s law was

“consensual oral sex between a 15-year-old and a 13-year-old, or between a 16-year-old and a

14-year-old—where the offender reasonably believed the victim was older,” Def.’s Reply. at 8.




5
 The sentencing memorandum submitted by Mr. Gotti focuses on the reasons a downward departure should be
considered if the Court finds no mandatory minimum sentence is required. Def.’s Sent. Mem., ECF No. 51 (Dec. 12,
2019). It highlights the need for downward departure based on the plea agreement, the extraordinary neglect and
physical and sexual abuse he suffered as a child, and his criminal history category. Id. at 4-7. Mr. Gotti also
submitted a sentencing memorandum which presented, in less depth, the same arguments a s the Federal Public
Defender’s Office (“FDO”). Def.’s Second Sent. Mem., ECF No. 43 (June 30, 2019).


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        In addition, in their view, Congress intended “abusive sexual conduct involving a minor”

to have a uniform federal definition, that the terms found in 18 U.S.C. § 2252A(b)(2) are defined

in relation to their federal counterparts,6 that Barker misapplies the categorical approach, and

that the rule of lenity applies. Amicus Br. With respect to the uniform federal definition

argument, the FDO argues that the Jerome presumption, which states “that the application of

federal legislation is nationwide. . . [and] the federal program would be impaired if state law

were to control,” Jerome v. United States, 318 U.S. 101, 104 (1943), necessitates national

uniformity and the use of § 2243(a). Amicus Br. at 9-10 (“For ‘[i]f a conviction were to be

determined by the application of the different … statutes of each state, then the application of

federal criminal sanctions would depend solely upon where the defendant’s previous conviction

had occurred.’” (alteration in original) (quoting United States v. Bergeman, 592 F.2d 533, 537

(9th Cir. 1979)).

        They further argue that the holding in Esquivel-Quintana, which found that the generic

definition of “sexual abuse of a minor” requires the victim be younger than 16, “implicitly

overrules, or at the very least ‘casts doubt on,’ the Second Circuit’s precedents in this area.” Id.

at 11 (citation omitted). They also submit that the terms in § 2252A(b)(2) provide uniform

federal definitions, then § 2243(a), defining sexual abuse of a minor, acts as an interpretive

anchor and “guides application of the categorical approach . . .” Id. at 14 (citing United States v.

Townsend, 897 F.3d 66, 68 (2d Cir. 2018)). That definition and the categorical approach

demonstrate a three-year age difference between an offender and victim is a necessary element,

which renders a mismatch between the state offense and generic federal definition. Id. Lastly, the



6
 The FDO’s argument mirrors that in United States v. Osborne. 551 F.3d 718, 719 (7th Cir. 2009) (“Section
2252(b)(1) does not define [the term ‘abusive’]. . . . The phrase ‘abusive sexual conduct involving a minor or ward’
must be a subset of all ‘sexual conduct involving a minor or ward.’”).

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FDO contends that “the rule of lenity should tip the scales in Mr. Gotti’s favor because nothing

establishes unambiguously that § 2252A(b)(2) encompasses his prior conviction.” Id. at 30.

       The Government responds to the FDO’s amicus brief in its sur-reply. Sur-Reply, ECF

No. 60 (Dec. 13, 2020). The Government notes that “the Second Circuit and other Courts of

Appeal have explained that in enacting the enhanced penalty provision of § 2252A(b), Congress

recognized the variation in state sexual misconduct laws that could lead to predicate convictions

under § 2252A.” Id. at 2; see id. at 3 (“More importantly, in Lockhart itself, the Supreme Court

made clear that its ‘construction of § 2252(b)(2)’s sexual-abuse predicates [did] not rely on a

general assumption that Congress sought full parity between all of the federal an d state

predicates[.]’” (quoting Lockhart v. United States, 136 S. Ct. 958, 966 (2016))).

       As to the FDO’s arguments regarding Barker, including its inapplicability, undermining

of Esquivel-Quintana, and failure to comply with Beardsley, the Government makes three

arguments. First, Barker applied the categorical approach (required by Beardsley) and

“[a]lthough the Second Circuit did not spell out the individual elements in its opinion , [it]

‘conclude[d] that a conviction [of the state law offense] qualifies categorically as a [predicate]

offense.” Id. at 4 (emphasis in original) (third alteration in original). Second, Barker’s reasoning

applies to “any statutory rape law.” Id. at 5. Third, Barker “is controlling for its determination

that a state statutory rape law need not mirror the federal statute in order to qualify as a prior

conviction under 2252A(b).” Id.

       As to the FDO’s argument regarding the application of the generic definition, the

Government finds Garcia-Urbano v. Sessions, 890 F.3d 726, 729-30 (8 th Cir. 2018), persuasive,

although the court there interpreted the Immigration and Nationality Act (“INA”). As the

Government contends, the Eighth Circuit determined there “that if the generic offense has an age



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differential of greater than two years in a day, statutory rape based solely on the age of the

participants in at least twenty-seven States would not have constituted ‘sexual abuse of a minor’

under the INA.” Sur-Reply at 7 (citing Garcia-Urbano, 890 F.3d at 730). The same analysis

under the INA applies here. Id. at 7–8. Though the FDO argues that not all sex between

teenagers is abusive, the Government contends that “as the Barker court and other courts have

noted, any non-consensual sex with a minor relates to abusive sexual conduct involving a minor

even if the relevant state statute lacks some significant age disparity or other aggravating factor

identified elsewhere in federal law.” Id. at 8 (internal quotation marks omitted) (quoting Barker,

723 F.3d at 324)).

        Finally, the Government reiterates its previous argument that “the inquiry is not whether

the state offense is inherently one of sexual abuse, but whether it inherently ‘relates to’ sexual

abuse.” Id. at 9.

        Ultimately, the FDO argues that § 2243(a), defining federal sex crimes in Chapter 109A

of Title 18, is one of the parallel federal crimes referred to in the clause preceding the list of state

law predicates. Amicus Br. at 13. In its view, “§ 2243(a) serves as the ‘interpretative anchor,’

that guides application of the categorical approach to determine the meaning of ‘abusive sexual

conduct involving a minor.’” Id. at 14 (internal citation omitted) (citing Townsend, 897 F.3d at

68).

        And the Government instead would apply the definition used by the Barker court, which

defines “abusive sexual conduct involving a minor” “generically as ‘misuse or maltreatment of a

minor for a purpose associated with sexual gratification.’” Sur-Reply at 4 (quoting Barker, 723

F.3d at 324.) In its view, the FDO’s contention that the Connecticut statute cannot serve as a

predicate offense because it is possible that an offender (a fifteen-year-old) is below the age of



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consent, speaks to whether or not the offender should be convicted in the first place, not whether

the conviction counts as a qualifying offense. Id. at 8. It concludes that “the inquiry is not

whether the state offense is itself inherently one of sexual abuse, but whether it inherently

‘relates to’ sexual abuse[,]” and “relating to” is broadly interpreted. Id. at 9.

        The Court disagrees and finds that the application of the categorical approach here does

not require the imposition of a mandatory minimum sentence under federal law. Even if there is

not absolute clarity as to this result, the Court alternatively finds that the rule of lenity requires

this result.

        In reviewing the statute of conviction, the categorical approach “presume[s] that the state

conviction rested upon . . . the least of th[e] acts criminalized by the statute and then [looks to] []

whether that conduct would fall within the federal definition of the crime.” Esquivel-Quintana,

137 S. Ct.at 1568 (citation and internal quotation marks omitted) (second alteration in original).

As a result, in Esquivel-Quintana, a previous state conviction counted “only if the least of the

acts criminalized by the state statute falls within the generic federal definition of sexual abuse of

a minor.” Id.

        Significantly, the Second Circuit recently reaffirmed this application of the categorical

approach and noted “that Congress intended the sentencing court to look only to the fact that the

defendant had been convicted of crimes falling within certain categories, and not to the facts

underlying the prior convictions.” United States v. Thompson, 961 F.3d 545, 550 (2d Cir. 2020).

        Thus, “in the context of statutory rape offenses that criminalize sexual intercourse based

solely on the age of the participants, the generic federal definition of sexual abuse of a minor

requires that the victim be younger than 16.” Esquivel-Quintana, 137 S. Ct.at 1568 (internal

quotation marks omitted). And “[b]ecause the California statute at issue in this case does not



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categorically fall within that definition, a conviction pursuant to it is not an aggravated felony

under § 1101(a)(43)(A).” Id.

       Applying the categorical approach, as the U.S. Supreme Court did in Esquivel-Quintana

and as the Second Circuit recently did in Thompson, results in Mr. Gotti’s previous state

conviction not constituting a prior offense under Section 2252A(b).

       This Court, as it must, begins its analysis with the text of the relevant statutes. See

Esquivel-Quintana, 137 S. Ct.at 1568 (“We begin, as always, with the text.”); see also United

States v. Vado, No. 14-cr-666 (PAE), 2015 WL 1611337, at *6 (S.D.N.Y. Apr. 10, 2015)

(“Absent a statutory definition, the Court uses familiar canons of statutory interpretation to

construe these terms.”).

                1. § 2243(a)

       As discussed above, 18 U.S.C. § 2252A(b)(1) provides:

               Whoever violates. . . subsection (a)(5) shall be fined under this title
               or imprisoned not more than 10 years, but if. . . such person has a
               conviction under this chapter, chapter 71, chapter 109A, or chapter
               117. . . or, under the laws of any State relating to aggravated sexual
               abuse, sexual abuse, or abusive sexual conduct involving a minor or
               ward. . . such person shall be fined under this title and imprisoned
               for not less than 10 years nor more than 20 years.

    18 U.S.C. §2252A(b)(1).

    There is no generic definition of “abusive sexual conduct involving a minor”, however

“sexual abuse of a minor or ward” is defined in 18 U.S.C. § 2243. 18 U.S.C. § 2243 which

makes it a crime to:

               [K]nowingly engage[ ] in a sexual act with another person who—
               (1) has attained the age of 12 years but has not attained the age of
               16 years; and
               (2) is at least four years younger than the person so engaging . . . .




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18 U.S.C. § 2243(a). Congress divided 2243(a) into subsections, (1) and (2), joined with the

conjunctive “and.” Thus, the elements of both subsections must be proven beyond a reasonable

doubt to sustain a federal conviction.

         “Sexual abuse of a minor,” which relates to sexual misconduct of a minor, is “defined

generically as ‘misuse or maltreatment of a minor for a purpose associated with sexual

gratification.” Barker, 723 F.3d at 324 (quoting United States v. Sonnenberg, 556 F.3d 667, 671

(8th Cir. 2009)). A conviction may trigger the sentencing enhancement if the state law relates to

sexual abuse of a minor; “a law that proscribes non-consensual sexual acts with a minor victim

addresses, by its nature, ‘abusive sexual conduct involving a minor,’ defined ordinarily as

‘misuse or maltreatment of a minor for a purpose associated with sexual gratification[.]’” Id.

(quoting Sonnenberg, 556 F.3d at 671).

         Unlike other statutes with applicable predicate offenses, however, where the statute at

issue listed specific predicate convictions, § 2252A(b)(2) uses the phrase “relating to.” 7 This

language provides “for an enhanced sentence not merely where the state offense qualifies an

offense enumerated in the federal penalty provision (e.g., where the prior offense was for sexual

abuse), but also when the state offense is one ‘relating to’ this offense (e.g., where the prior

offense ‘relat[ed] to’ sexual abuse).” Vado, 2015 WL 1611337, at *4 (alterations and emphasis in

original); compare 18 U.S.C. § 2252A(b)(2) with 18 U.S.C. § 924(e)(2)(B).

         In Barker, the phrase “relating to” encompassed not only state offenses equivalent to

sexual abuse, but also “‘any state offense that stands in some relation [to], bears upon, or is



7
 In analyzing federal drug offenses, the Second Circuit recently found the use of the phrase “conduct relating to ” to
modify only the list of controlled substances and did “not link other non-controlled substances or compounds to the
forgoing enumerated classes of drugs.” Thompson, 961 F.3d at 553; see also 21 U.S.C. § 802(44) (“The term ‘felony
drug offense’ means a n offense that is punishable by imprisonment for more than one year under any law of the
United States . . . that prohibits or restricts conduct relating to narcotic drugs, marihuana, anabolic steroids, or
depressant or stimulant substances.”).

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associated with [the] generic offense.” Barker, 723 F.3d at 323 (quoting United States v.

Strickland, 601 F.3d 963, 967 (9th Cir. 2010)) (alterations in original). It specifically contrasted

the language in § 2252A(b) with that of the recidivism provision of 18 U.S.C. § 2247(b). That

statute triggers a mandatory minimum when a state law offense “consisting of conduct that

would have been an offense under chapter [117], chapter 109A, chapter 110, or section 1591 if

such offense had been committed in federal territorial jurisdiction.” Id. (emphasis and alteration

in original) (internal quotation marks omitted). In Barker, the decision by Congress, to employ

“relating to” rather than to specify parallel federal crimes, intentionally “defined only in general

terms, recognizing the diversity among the several states in the specific elements of sexual

misconduct laws.” Id. (emphasis in original).

       But as the Supreme Court clarified in Esquivel-Quintana, if a state statute “does not

categorically fall within [the generic] definition,” it will not constitute a triggering conviction.

137 S. Ct. at 1568. Moreover, it “turns the categorical approach on its head by defining the

generic federal offense of sexual abuse of a minor as whatever is illegal under the particular law

of the State where the defendant was convicted.” Id. at 1570. If that were the case, “there is no

‘generic’ definition at all.” Id. The Supreme Court recognized that “18 U.S. C. § 2243 . . .

provides further evidence that the generic federal definition of sexual abuse of a minor

incorporates an age of consent of 16, at least in the context of statutory rape offenses predicated

solely on the age of the participants.” Id.

       While the Supreme Court left “for another day whether the generic offense requires a

particular age differential between the victim and the perpetrator, and whether the generic

offense encompasses sexual intercourse involving victims over the age of 16 that is abusive

because of the nature of the relationship between the participants,” id. at 1572, the Supreme



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Court held that “the generic federal definition of ‘sexual abuse of a minor’ under §

1101(a)(43)(A) requires the age of the victim to be less than 16.” Id. at 1572-73.

       When compared to the federal statute, the underlying elements of the relevant

Connecticut statute do not match: the federal statute requires a four-year age differential,

Connecticut’s law a two-year age differential; the federal law requires a victim to attain the age

of twelve, Connecticut’s law the age of thirteen. The categorical approach requires the state

elements to be “the same as, or narrower than, those of the generic offense.” Descamps, 570 U.S.

at 257. Connecticut’s statute, however, is broader than the federal statute and makes it a crime to

engage in conduct, not prohibited by federal law: sexual intercourse between a victim at le ast

thirteen years of age, and a person less than four years older than the victim, although more than

two years older, even if this sexual contact was consensual. See State v. Jason B., 248 Conn. 543,

554 (1999) (recognizing that the Connecticut law criminalized conduct even if the victim

“engage[d] in physically consensual intercourse.”); cf. U.S. v. Escalante, 933 F.3d 395, 402

(5thCir. 2019) (“Looking solely at the elements then, the Utah offense criminalizes consensual

sexual contact between an 18-year-old and a 15-year-old, whereas the federal statute does not.”).

       Indeed, applying the categorical approach, the Second Circuit recently vacated a sentence

and remanded it for resentencing where the state law conviction could not constitute a predicate

felony offense because the state statute “criminalized conduct beyond the scope of the federal

analog.” Thompson, 961 F.3d at 547; see also Escalante, 933 F.3d at 402 (“Thus, under the

categorical approach, the Utah offense ‘sweeps more broadly” than the comp arable federal

offense and cannot serve as a proper predicate for a [Sexual Offense Registration and

Notification Act of 2006] tier II sex offender designation.”).




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        Accordingly, because the “least of the acts” criminalized by Connecticut’s statute extends

beyond the reach of the federal definition of the crime, Mr. Gotti’s previous Connecticut

conviction does not trigger the mandatory minimum under federal law. See Townsend, 897 F.3d

at 73 (“[A] state statute that punishes conduct not criminalized by federal law cannot affect the

Guidelines calculation.”). 8

                  2. Rule of Lenity

        Alternatively, the rule of lenity resolves ambiguities “in favor of the defendant only ‘at

the end of the process of construing what Congress has expressed’ when the ordinary canons of

statutory construction have revealed no satisfactory construction.” Lockhart, 136 S. Ct. at 968

(quoting Callanan v. United States, 364 U.S. 587, 596 (1961)). It instructs that “ambiguities

about the breadth of a criminal statute should be resolved in the defendant’s favor.” United States

v. Davis, 139 S. Ct. 2319, 2333 (2019). “And much like the vagueness doctrine, it is founded on

‘the tenderness of the law for the rights of individuals’ to fair notice of the law ‘and on the plain

principle that the power of punishment is vested in the legislative, not in the judicial

department.’” Id. (citing United States v. Wiltberger, 17 U.S. 76, 95 (1820)). It is invoked “only


8
 In reaching this conclusion, the Court acknowledges that some recent precedents outside of the Second Circuit,
after the Supreme Court’s decision in Esquivel-Quintana, have reached a different conclusion. See e.g., U.S. v.
Kraemer, 933 F.3d 675, 684-85 (7 th Cir. 2019) (“[R]equiring an exact match between a state’s definition of sexual
abuse of a child and one of the federal offenses would thwart needlessly Congress’s purpose of protecting young
children from sexual predators by imposing heightened sentences for repeat offenders.”). But this Court is obligated
to apply Supreme Court and Second Circuit precedents faithfully. And some of these decisions issued after Esquivel-
Quintana, such as the Seventh Circuit’s decision in Kraemer, do not address or even refer to the Supreme Court’s
express guidance that courts “turn[ ] the categorical approach on its head by defining the generic federal offense of
sexual abuse of a minor as whatever is illegal under the particular law of the State where the defendant is
convicted.” Esquivel-Quintana, 137 S. Ct. at 1570; see also Townsend, 897 F.3d at 74 (“[B]ecause the state statute
of conviction criminalizes the sale of a substance not criminalized under federal law, the state statute does not
categorically match the federal crime.”). And other decisions, such as the Third Circuit’s recent decision in U.S. v.
Portanova, 961 F.3d 252 (2020), acknowledge the test’s proper application, to “line up the elements of the state
crime of conviction with the federal generic offense, that is, the offense as commonly understood, and determine if
they match,” id. at 255-56 (internal quotations and footnotes omitted), but nevertheless adopt a “looser categorical
approach,” where the broad language of “relating to” in the federal statute eliminates the need for “complete
congruence between federal and state predicates.” Id. at 260. In contrast to the Supreme Court’s guidance in
Esquivel-Quintana, under either of these versions of the categorical approach, “there is no ‘generic’ definition at
all.” Esquivel-Quintana, 137 S. Ct. at 1570.

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when, after consulting traditional canons of statutory construction, [the court is] left with an

ambiguous statute.” United States v. Hayes, 555 U.S. 415, 429 (2009) (quoting United States v.

Shabani, 513 U.S. 10, 17 (1994)). “To invoke the rule, [the court] must conclude that there is a

grievous ambiguity or uncertainty in the statute.” Muscarello v. United States, 524 U.S. 125,

138-39 (1998) (internal quotation marks omitted).

       When faced with such an ambiguity, the Court must apply the construction favorable to

the defendant. Precedent is inconclusive with respect to this statute. In Beardsley, the court dealt

with an underlying state offense of endangering the welfare of a child. 691 F.3d at 274 (“Thus,

New York’s definition of endangering the welfare of a child is not merely an overinclusive state

statute that defines some crimes that are analogous to the generic federal crimes listed in 18

U.S.C. § 2252A(b)(1). . . . It is a categorically distinct law.”) In Allen, the Second Circuit

examined a New York second degree sexual abuse conviction which protected victims under the

age of 14, finding the state statutory definition of “sexual contact” fell within the ordinary

meaning of the term “sexual abuse of a minor.” 750 F.3d at 212. In Chery v. Ashcroft, the

Second Circuit found that an offense under § 53a-71, without specifying which subsection the

defendant had previously been convicted of, constituted a crime of violence under the INA

because “although a conviction may be obtained under § 53a-71 for consensual sexual

intercourse and force may not be present in all circumstances, the risk of the use of force is

inherent in each of the offenses set forth in the statute.” 347 F.3d 404, 408 (2d Cir. 2003)

(emphasis in original).

       Of these decisions, the decision in Barker is the closest. The defendant there was

subjected to a mandatory minimum sentence because of a prior state offense, the statute of which

was a statutory rape law that criminalized an unlawful sexual act with a minor under the age of



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16. Barker, 723 F.3d at 318. Like Mr. Gotti has, the defendant there focused on the lack of

significant age difference. Id. The court in Barker applied the categorical approach, not to a

parallel crime in chapter 109A, but to the definition used in Beardsley, mainly because of the use

of “relating to” in § 2252A(b)(2). Id. at 322-23.

       While the statute, not prior interpretations, dictates whether the rule of lenity applies,

precedent illustrates why the rule of lenity must apply here. It is not clear that the Connecticut

statute categorically relates to sexual abuse or abusive sexual conduct involving a minor. The

Connecticut statute prohibits sexual intercourse and describes an age differential broader than

that of a similar federal parallel offense. In contrast, the statutory rape law in Barker specified

that the sexual act between the offender and victim was unlawful, necessarily incorporating some

degree of illegality, consent, abuse, or impropriety. Id.

       Here, the state statute includes all sexual intercourse between those within the applicable

age range and does not distinguish between consenting actors. Indeed, as the Connecticut

Supreme Court noted: “The general purpose of § 53a-71(a)(1) is to protect victims who are

thirteen, fourteen, or fifteen years of age, and thus may not have the full measure of maturity to

make an intelligent choice regarding sexual intercourse, from being taken advantage of by

someone who, because he or she is significantly older, may be able to persuade the victim to

engage in physically consensual sexual intercourse.” Jason B., 248 Conn. at 553-54. And

Barker’s holding “that a law that proscribes non-consensual sexual acts with a minor victim

addresses, by its nature, ‘abusive sexual conduct involving a minor” is a more narrow

interpretation than either the Government or the FDO suggests. 723 F.3d at 324.

       The inquiry in Lockhart, in which the Supreme Court found the rule of lenity did not

apply, also is distinguishable. There, the construction of the sentence and the modifying phrase



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did not necessitate the rule of lenity. Lockhart, 136 S. Ct. at 968 (“But the arguable availability

of multiple, divergent principles of statutory construction cannot automatically trigger the rule of

lenity . . . the rule of the last antecedent is well supported by context and Lockhart’s alternative is

not.”). Here, the ambiguity stems from the intent of Connecticut’s General Assembly to protect

minors from even “physically consensual sexual intercourse,” Jason B., 248 Conn. at 554, with

slightly older minors, and the degree to which this conduct is broader or narrower than conduct

prohibited by federal law.

       And to the extent that there is a question as to whether the Second Circuit’s decision in

Barker controls, or whether the subsequent application of the categorial approach by the

Supreme Court in Esquivel-Quintana and the Second Circuit in Thompson should govern, then

the rule of lenity must apply because “‘the statute’s ambiguity makes it impossible’ to interpret

the provision at issue ‘without simply guessing about [C]ongressional intent.” Vado, 2015 WL

1611337, at *15 (quoting United States v. Dauray, 215 F.3d 257, 264-65 (2d Cir. 2000)).

       Accordingly, even if it is not clear that the “least of the acts” criminalized by

Connecticut’s statute extends beyond the reach of the federal definition of the crime, there is

sufficient ambiguity about the scope of the Connecticut statute’s reach to apply the rule of lenity,

and not require the imposition of a mandatory minimum sentence here.

       C.      Section 3553(a) Factors

       In sentencing, a court is required to consider all relevant factors under 18 U.S.C.

§ 3553(a) and to issue “a sentence sufficient, but not greater than necessary.” 18 U.S.C.

§ 3553(a); see also United States v. Romano, 794 F.3d 317, 339 (2d Cir. 2015) (recognizing the

relevance of the § 3553(a) factors in considering the length of a sentence). Under paragraph (2)

of this subsection, the sentence must “reflect the seriousness of the of fense, to promote respect



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for the law, and to provide just punishment for the offense,” as well as “afford adequate

deterrence to criminal conduct,” “protect the public from further crimes of the defendant,” and

“provide the defendant with needed educational or vocational training, medical care, or other

correctional treatment in the most effective manner.” 18 U.S.C. § 3553(a)(2)(A)-(D). The statute

additionally requires consideration of “the nature and circumstances of the offense and the

history and characteristics of the defendant,” “the kinds of sentences available,” the relevant

“sentencing range established” for the offense, and the “need to avoid unwarranted sentence

disparities among defendants with similar records who have been found guilty of similar

conduct.” 18 U.S.C. § 3553(a)(1), (3), (4), and (6).

        A “district court need not impose a Guidelines sentence, and may, if doing so would be

reasonable, lower the sentence below the Guidelines range even when a downward departure is

unavailable.” United States v. Brady, 417 F.3d 326, 333 (2d Cir. 2005). “[I]f a district court were

explicitly to conclude that two sentences equally served the statutory purpose of § 3553, it could

not, consistent with the parsimony clause, impose the higher.” United States v. Ministro-Tapia,

470 F.3d 137, 142 (2d Cir. 2006). Just as importantly, after the Supreme Court’s decision in

United States v. Booker, 543 U.S. 220 (2005), the Sentencing Guidelines are advisory. See id. at

245 (“[T]he federal sentencing statute, as amended, makes the Guidelines effectively advisory. It

requires a sentencing court to consider Guidelines ranges, but it permits the court to tailor the

sentence in light of other statutory concerns as well.” (citations omitted)).

                           1. The Applicable Sentencing Guideline Range

       While the parties agreed in the plea agreement that the applicable Sentencing Guideline

range was 70 to 87 months, Plea Agreement, ECF No. 28 at 5 (Dec. 12, 2018), Probation’s

subsequent calculations placed that range at 84 to 105 months, and the Government agrees.



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Nevertheless, the Government also agrees that if the Court determined that a ten -year mandatory

minimum sentence did not apply to Mr. Gotti, the Court should issue a departure consistent with

Fernandez and adopt the Sentence Guideline range agreed to at the time of the plea agreement.

       The Court agrees, and will give effect to the understanding adopted by the parties at the

time of the plea agreement, and issue a Non-Guidelines sentence, consistent with Fernandez, 877

F.2d at 1145 (“[A] district court presently may depart from a Guidelines sentence in order to give

effect to a plea bargain if such a departure is warranted.”), and for other reasons, discussed

further below, issue an upward variance.

               2. The Weighing of the Various Section 3553(a) Factors

       This Court must weigh a variety of factors under 18 U.S.C. § 3553(a) and starts with the

“nature and circumstances of the offense and the history and characteristics of the defendant.” 18

U.S.C. § 3553(a)(1). The criminal conduct here is not just serious, but troubling. Mr. Gotti

reached out to a minor, engaged in sexually explicit conversations with that minor, and

convinced that minor to send sexually explicit images of himself, including a video depicting

sadistic and masochistic conduct. Plea Agreement at 5. Equally troubling is the abusive and

traumatic childhood experienced by Mr. Gotti. Indeed, as a recent mental health examination

revealed, Mr. Gotti’s “[p]roblems with managing impulses particularly related to sexual behavior

are common with his condition and are the direct result of the extraordinary sexual trauma he

endured beginning in very early childhood.” Pre-Sentence Report Suppl., ECF No. 52-2 at 4

(Dec. 5, 2019) (“Psychiatry Report”).

          The Court also must impose a sentence “to reflect the seriousness of the offense, to

promote respect for the law, and to provide just punishment for the offense,” 18 U.S.C.

§ 3553(a)(2)(A), “to afford adequate deterrence to criminal conduct,” id. (a)(2)(B), “to protect



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the public from further crimes of the defendant,” id. (a)(2)(C), and “to provide the defendant

with needed educational or vocational training, medical care, or other correctional treatment in

the most effective manner.” id. (a)(2)(D).

       Here, even though Mr. Gotti has experienced “extreme childhood sexual abuse and

extensive interpersonal trauma,” Psychiatry Report at 4, “he has never received the length or

quality in treatment needed to begin to address his condition,” id. at 5. And based on his recent

psychological evaluation, there is reason to believe that “[w]ith appropriate treatment his

condition is likely to improve and, as a result, his risk for recidivism will be significantly

reduced.” Id. As a result, on this record, “adequate deterrence,” “protection of the public from

future crimes,” and “effective” correctional treatment is contingent on Mr. Gotti receiving

significant and long overdue mental health treatment.

       Because of the seriousness of his crimes, and the absence of meaningful treatment for Mr.

Gotti thus far, absent the unavailability of viable mental health services in the appropriate Bureau

of Prisons facility – and there is no basis for such a conclusion on this record – Mr. Gotti’s need

for mental health treatment does not warrant relieving him of or otherwise significantly reducing

his criminal sentence.

       This Court further must consider “the kinds of sentences available” generally, 18 U.S.C.

§ 3553(a)(3), the “kinds of sentences” informed by the Sentencing Guidelines, id. (a)(4) and

(a)(5), and “the need to avoid unwarranted sentences disparities among defendants with similar

records who have been found guilty of similar conduct.” id. (a)(6). Significantly, a defendant

who had engaged in similar conduct but who had a lower Criminal History Category received a

60-month sentence. See generally Def.’s Third Sentencing Mem. (comparing Mr. Gotti’s case to

United States v. Gregan, 3:19-cr-253 (JCH)).



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       Mr. Gregan’s sentence is the result, in part, of a deduction of four points under U.S.S.G.

§ 2G2.2(b)(4) because the offense involved material that portrays sadistic or masochistic conduct

in that it depicts a young boy being anally penetrated by a foreign object, because in that case,

U.S. District Judge Janet C. Hall determined that this deduction was not warranted following the

viewing of the relevant videotape. Id. Because the failure to deduct the same four points here

would result in an “an unwarranted sentence[ ] disparit[y] among defendants with similar records

who have been found guilty of similar conduct,” the Court also must deduct four points from the

calculation of Mr. Gotti’s Sentencing Guideline range. After taking into consideration the

Sentencing Guideline Range agreed to by the parties at the time of the plea agreement, a

Sentencing Guidelines range of 70 to 87 months and a total offense level of 21, a further

deduction of four points would result in a total offense level of 17, and a Sentencing Guidelines

range for Mr. Gotti of 46-57 months.

       But applying this Sentencing Guidelines range would result in a lower sentence for Mr.

Gotti than Mr. Gregan, despite Mr. Gotti’s significantly more extensive criminal history. Mr.

Gregan is in Criminal History Category I, while Mr. Gotti is in Criminal History Category V. As

a result, the Court will not impose a sentence within this revised Sentencing Guidelines range.

Instead, in order to avoid an unwarranted sentence disparity, the Court’s Non-Guidelines

sentence will vary upward, and take into consideration the need for a sentence that distinguishes

between these two defendants.

       Finally, the Court must consider “the need to provide restitution to any victims of the

offense.” 18 U.S.C. § 3553(a)(7). Here, however, while restitution ordinarily is appropriate in

sentences involving the sexual victimization of minors, United States v. Pearson, 570 F.3d 480,

486 (2d Cir. 2009) (“Section 2259(b) provides for mandatory restitution of ‘the full amount of



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the victim’s losses,’ which includes ‘any costs incurred by the victim’ for ‘medical services

relating to physical, psychiatric, or psychological care.’” (quoting 18 U.S.C. § 2259)); see also

United States v. Aumais, 656 F.3d 147, 155 (2d Cir. 2011) (noting restitution is not

“categorically foreclose[d] . . . to victims of child pornography from a defendant who possesses

their pornographic images”), the Government has yet to seek restitution. As a result, the Court

will not consider restitution at this time. See 18 U.S.C. § 3664 (“If the victim’s losses are not

ascertainable by the date that is 10 days prior to sentencing, . . . the court sh all set a date for the

final determination of the victim’s losses, not to exceed 90 days after sentencing.”)

                3. The Appropriateness of Further Departures or Variances

        The Court now will consider whether a further downward departure from the agreed upon

guideline range stipulation is warranted. See United States v. Mumuni Saleh, 946 F.3d 97, 106

(2d Cir. 2019) (“[A] district court’s evaluation of the evidence is ‘clearly erroneous’ when [the

appellate court] [is] left with the ‘definite and firm conviction’ that the district court has

misinterpreted the record and, as a result, has misweighed certain aggravating or mitigating

factors.”); United States v. Flaquer, 361 F. App’x 222, 224 (2d Cir. 2010) (holding that a

within-guideline sentence where “the record shows that the District Court con sidered a properly

calculated advisory guidelines range, properly considered the factors listed in 18 U.S.C.

§ 3553(a), and stated its reasons for assigning the sentence” was not an abuse of discretion).

                                a.      The Characteristics of the Defendant

        “Section 5K2.0 of the Sentencing Guidelines provides the sentencing court with

discretion to depart from the applicable Guidelines range if ‘there exists an aggravating or

mitigating circumstance of a kind, or to a degree, not adequately taken into consideration by the

Sentencing Commission in formulating the guidelines that should result in a sentence different



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from that described.’” United States v. Rivera, 192 F.3d 81, 83-84 (2d Cir. 1999) (quoting

U.S.S.G. § 5K2.0). “[M]ental and emotional conditions are not ordinarily relevant in determining

whether a sentence should be outside the applicable guideline range, except as provided in

Chapter Five, Part K, Subpart 2 (Other Grounds for Departure).” Id. at 84 (quoting U.S.S.G. §

5H1.3). “[A]buse suffered during childhood—at some level of severity—can impair a person’s

mental and emotional conditions.” Id. at 85 (citing United States v. Roe, 976 F.2d 1216, 1218

(9th Cir. 1992)).

       Section 5H1.3 permits a sentencing departure if “[m]ental and emotional conditions . . .

individually or in combination with other offender characteristics, are present to an unusual

degree and distinguish the case from the typical cases covered by the guidelines.” U. S.S.G. §

5H1.3. While the Sentencing Guidelines “expressly disfavor[ ] departures based upon mental and

emotional conditions. . . [the Second Circuit] has held . . . that there are indeed certain situations

where a person’s mental and emotional conditions may be taken into account in granting a

downward departure.” Brady, 417 F.3d at 333 (citing Rivera, 192 F.3d at 85).

       By any measure, Mr. Gotti’s case is not “unusual” and not “typical.” From a very young

age, Mr. Gotti has been exposed to and experienced severe trauma. There has been intervention

by Department of Children and Families Services (“DCF”) in Mr. Gotti’s upbringing since the

age of two years old, which continued throughout his childhood. Def.’s Sent. Mem. at 2. Mr.

Gotti also has been a ward of the state of Connecticut and has been admitted “in and out of

children’s psychiatric hospitals with other disturbed young kids.” Id. When only six-and-a-half

years old, DCF admitted Mr. Gotti “on an emergency basis as ‘severely sexu ally and physically

abused.’” Id. A letter from the DCF regional Director described Mr. Gotti “as ‘one of the most

damaged children at the [ ] Center.’” Id. at 2-3. Three months after entering that facility, the



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Center determined that “Mr. Gotti needed 6-8 years [of] additional residential treatment and

foster care.” Id. at 3. The State had paid for his stay at the Center, but determined that it could no

longer afford the expense. Id. The State then returned Mr. Gotti to his mother at the age of 10. Id.

       As discussed above, given his extensive childhood abuse, persistent substance abuse as

well as related addiction issues, Pre-Sentence Report ¶ 70, and limited therapeutic opportunities,

a downward departure or variance, however, would only be appropriate to the extent Mr. Gotti

could not receive the necessary mental health treatment in a facility under the control of the

Bureau of Prisons. On this record, there is no support for this type of departure or variance here .

                           b. Criminal History Category

       Downward departures also are permitted under U.S.S.G. § 4A1.3(b); “If reliable

information indicates that the defendant’s criminal history category substantially over-represents

the seriousness of the defendant’s criminal history or the likelihood that the defendant will

commit other crimes, a downward departure may be warranted.”

       Mr. Gotti seeks a downward departure to a Criminal History Category IV because of

points given related to his failure to register as a sex offender. Def.’s Sent. Mem. at 5-6. The first

time, Mr. Gotti entered a guilty plea and received a fine, instead “of being given the opportunity

to register.” Id. at 5. He failed to register again while still in the custody of the Connecticut

Department of Corrections, and again “entered a guilty plea and was given an 18 month prison

sentence,” instead of being given an opportunity to register.” Id. at 6. He also received a fine for

larceny in the sixth degree in 2012. Id. Mr. Gotti believes the additional five points for these

offenses “overstate the seriousness of Mr. Gotti’s criminal history and that a downward departure

is warranted.” Id.




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       The Government disagrees. After release from prison following the May 2000 sexual

assault conviction, Mr. Gotti violated probation on three occasions and served additional jail

time, one violation “resulted in another 4-year jail sentence.” United States’s Sentencing

Memorandum, ECF No. 53, at 24 (Dec. 9, 2019) (“Gov’t. Sent. Mem.”). “While in custody, he

received nine disciplinary citations for theft, disobeying orders, insulting language or behavior,

flagrant disobedience, and threats.” Id. In 2008, he received a conviction for resisting arrest and

third-degree assault, and for failing to register as a sex offender. Id. at 25. In 2009, Mr. Gotti

again received a conviction for failing to register as a sex offender. Id. In 2012, he received a

convicted for sixth-degree larceny. Id. In 2015, Mr. Gotti also received a conviction for two

counts of second-degree threatening. Id.

       U.S.S.G. § 4A1.3(b)(2)(B) prohibits downward departures for “(i) an armed career

criminal within the meaning of § 4B1.4 (Armed Career Criminal); and (ii) a repeat and

dangerous sex offender against minors within the meaning of § 4B1.5 (Repeat and Dangerous

Sex Offender Against Minors).” The defendant must have “committed the instant offense of

conviction subsequent to sustaining at least one sex offense conviction[.]” U.S.S.G. § 4B1.5(a).

A “‘sex offense conviction’ (I) means any offense described in 18 U.S.C. § 2426(b)(1)(A) or (B),

if the offense was perpetrated against a minor.” U.S.S.G. § 4B1.5(a), comment 3(A)(ii).

       While Mr. Gotti’s previous state conviction does not result in the imposition of a ten -year

mandatory minimum, for the reasons stated above, this previous state offense does prevent a

downward departure of his Criminal History Category.

       Having considered and weighed all of the relevant factors under 18 U.S.C. § 3553(a), and

any all bases for a departure or variance, ultimately, there must be a Non-Guidelines sentence

and an upward variance from the 57 to 71 months range under the Sentencing Guidelines . The



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seriousness of Mr. Gotti’s underlying criminal conduct and the need for protection of the public

warrant a sentence significantly above Mr. Gregan’s sentence of 60 months. But the absence of

sustained mental health treatment for Mr. Gotti directed at addressing the root causes of his

underlying criminal conduct thus far – treatment, which on this record, “is likely to improve” his

condition and “significantly reduce[ ]” Mr. Gotti’s “risk for recidivism” – suggests that, while

there must be some significant distinction between the two sentences, any such difference should

be measured, in order to be “sufficient, but not greater than necessary” under 18 U.S.C. §

3553(a).

         Accordingly, the Court imposes a term of imprisonment of eighty (80) months for Mr.

Gotti’s criminal conduct.

   IV.      CONCLUSION

         For the reasons discussed below, the Court determines that Mr. Gotti’s previous state law

conviction is not a predicate offense under 18 U.S.C. § 2252A(b)(2), and therefore does not

require the imposition of a mandatory minimum term of imprisonment.

         The Court further determines that, after considering and weighing all of the relevant

factors under 18 U.S.C. § 3553(a), including but not limited to determining the appropriateness

of a departure from or variance with the Sentence Guidelines, the parties’ mutual understanding

at the time of Mr. Gotti’s plea agreement, and a deduction of four points from his Sentencing

Guidelines calculations in order to avoid an unwarranted sentencing disparity, a Non-Guidelines

sentence with an upward variance to a term of imprisonment of eighty (80) months for Mr.

Gotti’s criminal conduct is necessary in order to avoid to any unwarranted sentencing disparity.




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SO ORDERED at Bridgeport, Connecticut, this 18th day of September, 2020.

                                                  /s/ Victor A. Bolden
                                                Victor A. Bolden
                                                United States District Judge




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